
USCA1 Opinion

	





          January 17, 1995                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1519                                     KAVIN CORNERS,                                Plaintiff, Appellant,                                          v.                                PAUL SACCOCIA, ET AL.,                                Defendants, Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF RHODE ISLAND                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________                                 ____________________                                        Before                                  Cyr, Circuit Judge,
                                       _____________                            Bownes, Senior Circuit Judge,
                                    ____________________                              and Stahl, Circuit Judge.
                                         _____________                                 ____________________            Kavin Corners on brief pro se.
            _____________            David J. Gentile on brief for appellees.
            ________________                                 ____________________                                 ____________________



                 Per Curiam.   We  affirm the judgment  substantially for
                 __________            the  reasons recited in  the magistrate-judge's comprehensive            report (as  modified in part  by the district  court), adding            only the following observations.                   Plaintiff insists that the lower court erred in invoking            the doctrine  of qualified immunity.   In  order to  overcome            such a  defense, plaintiff  bore the burden  of demonstrating            that the law regarding a prison disciplinary board's reliance            on information  from  a confidential  informant was  "clearly            established"  by May 1991.   See, e.g., Horta  v. Sullivan, 4
                                         ___  ____  _____     ________            F.3d  2,  13 (1st  Cir. 1993).   Yet  the  sole law  to which            plaintiff has  referred in this  regard is that  contained in            the so-called  "Morris Rules"--a set of  procedures governing            prison  administration first  adopted in  1972 as  part of  a            consent  decree and  later  promulgated as  state law.   See,
                                                                     ___            e.g.,  Rodi v. Ventetuolo, 941  F.2d 22, 23,  26-27 (1st Cir.
            ____   ____    __________            1991).1                   While  the  Morris  Rules  were  designed  to  implement            various  constitutional protections,  not every  violation of            those rules  results in a claim  of constitutional dimension.            See, e.g., Morris v. Travisono, 509 F.2d 1358, 1362 (1st Cir.
            ___  ____  ______    _________            1975) (noting  that Morris  Rules  embody both  "what is  ...            constitutionally  necessary and what  is not");  Nicholson v.
                                                             _________                                
            ____________________            1.  The current version of the  rules is reproduced in Morris
                                                                   ______            v. Travisono, 499 F. Supp. 149, 161-74 (D.R.I. 1980).
               _________



            Moran, 835 F.  Supp. 692,  697 n.18 (D.R.I.  1993); see  also
            _____                                               _________            DesRosiers  v. Moran, 949 F.2d  15, 21 (1st  Cir. 1991) ("Not
            __________     _____            every  breach  of [the  Morris Rules]  will  give rise  to an            Eighth  Amendment claim.");  cf. Davis  v. Scherer,  468 U.S.
                                         ___ _____     _______            183,  194   (1984)   ("Officials  sued   for   constitutional            violations  do  not  lose  their  qualified  immunity  merely            because    their   conduct   violates   some   statutory   or            administrative     provision.")      (footnote     omitted).2            Plaintiff's reliance on the Morris Rules provides no guidance            as to what  is independently  required in this  context as  a            matter  of federal due process.  See generally, e.g., Russell
                                             _____________  ____  _______            v.  Scully, 15 F.3d 219,  223-24 (2d Cir.  1993) (on petition
                ______            for rehearing); Taylor v. Wallace, 931 F.2d 698, 701-02 (10th
                            ______    _______            Cir. 1991) (reviewing  cases); Baker v. Lyles,  904 F.2d 925,
                                           _____    _____            931-33  (4th Cir. 1990); Langton v. Berman, 667 F.2d 231, 235
                                     _______    ______            (1st  Cir. 1981).  Inasmuch as neither side has addressed the            contours  of  the constitutional  right  at  stake, we  shall            likewise decline to  do so.  See, e.g.,  Wilson v. Brown, 889
                                         ___  ____   ______    _____            F.2d  1195,  1196 n.3  (1st  Cir. 1989)  (plaintiff's  pro se                                
            ____________________            2.  In turn, to the extent plaintiff's argument  rests on our            holding in  Rodi that the Morris Rules  "imbue prison inmates
                        ____            with a  liberty interest in  remaining in the  general prison            population,"  941 F.2d at 23,  it suffices to  note that such            opinion was issued after  the events in question here.   See,
                                                                     ___            e.g.,  id. at  30-31 (finding  such result  not to  have been
            ____   ___            clearly  established prior  thereto); Morgan  v. Ellerthorpe,
                                                  ______     ___________            785 F. Supp. 295, 303 (D.R.I. 1992).                                          -3-



            status "does not  make us more  inclined to interpret  damage            pleas further than their plain language permits").                 Plaintiff also  challenges the district  court's refusal            to  order that  he be  reclassified to  minimum security/work            release  status.3  His sole  argument in this  regard is that            the  applicable regulations  endow  him  with an  enforceable            liberty  interest.  We are  unable to address this contention            inasmuch as  the regulations are not  in the record--although            we note  that similar arguments  have been unavailing  in the            past.  See,  e.g., Cugini  v. Ventetuolo, 781  F. Supp.  107,
                   ___   ____  ______     __________            112-13  (D.R.I.),  aff'd,  966  F.2d  1440  (1st  Cir.  1992)
                               _____            (table); State  v. Pari,  553 A.2d  135, 137-38  (R.I. 1989).
                     _____     ____            Nor need we decide whether the court abused its discretion in            declining   to   direct   reconsideration    of   plaintiff's            classification status purely as a  remedial measure, inasmuch            as the Morris  Rules themselves contemplate such relief.  See
                                                                      ___            Morris v.  Travisono,  499 F.  Supp. 149,  162 (D.R.I.  1980)
            ______     _________            (directing  reclassification meeting  to be held  "whenever a            major  change in  an inmate's  program  appears indicated").4            The   expungement   of   the   disciplinary   violation  from                                
            ____________________            3.  Although  the  magistrate-judge   recommended  that   the            classification   board  be  directed  to  review  plaintiff's            status, the district court declined to adopt this measure.            4.  Moreover, if plaintiff currently resides in "B" status (a            matter unclear  from the  record), his  classification status            would  have to  be reviewed  "at least" every  90 days.   See
                                                                      ___            Morris, 499 F. Supp. at 166.
            ______                                         -4-



            plaintiff's    record--which    violation    led    to    his            reclassification in  the  first place--would  obviously  fall            within this category.   Any grievances plaintiff might harbor            regarding  his  entitlement   to  work  release   status  are            collateral to  the instant proceeding and  can, if necessary,            be pursued separately.                 We have  reviewed plaintiff's remaining claims  and find            them without merit.5                 Affirmed.
                 _________                                
            ____________________            5.  Plaintiff  is correct that  defendant Saccoccia's failure            to interview  witnesses was cited in  the complaint (contrary            to the finding  made below).   Yet such  failure was  clearly            harmless  in light  of the  magistrate's findings  as to  the            anticipated   testimony  of  such   individuals.    In  turn,            plaintiff's  claim  for  loss   of  "potential  earnings"  is            subsumed  within his claim for  damages, and so  is barred on            qualified immunity grounds.                                           -5-



